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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW HAMPSHIRE

MANIKANTA PASULA, LIKHITH BABU
GORRELA, THANUJ KUMAR
GUMMADAVELLI, HANGRUI ZHANG,
and HAOYANG AN, on behalf of themselves
and all those similarly situated,
          Plaintiffs,
    v.

U.S. DEPARTMENT OF HOMELAND                         No. 1:25-cv-156
SECURITY;

U.S. IMMIGRATION AND CUSTOMS
ENFORCEMENT;

U.S. IMMIGRATION AND CUSTOMS
ENFORCEMENT, BOSTON FIELD
OFFICE;

U.S. IMMIGRATION AND CUSTOMS
ENFORCEMENT, MANCHESTER SUB-
FIELD OFFICE;

KRISTI NOEM, Secretary of the
Department of Homeland Security;

TODD LYONS, Acting Director of the
Immigration and Customs Enforcement;
             Defendants.


                          PLAINTIFFS’ EXPEDITED MOTION FOR A
                          CLASSWIDE PRELIMINARY INJUNCTION
                        (EXPEDITED ORAL ARGUMENT REQUESTED)

         Pursuant to Fed. R. Civ. P. 65(a), and Count 1 (Administrative Procedure Act/Regulatory

Claim) of Plaintiffs’ Complaint for Declaratory and Injunctive Relief—and for the reasons stated

in the accompanying memorandum of law, declarations, and all pleadings filed—Plaintiffs

respectfully move this Court to issue a preliminary injunction:


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       A. Requiring Defendants to reinstate the F-1 student status and corresponding SEVIS
          immigration record for all students at (and Optional Practical Training participants
          affiliated with) any educational institutions (including colleges and universities) in
          New Hampshire, Massachusetts, Maine, Rhode Island, and Puerto Rico who had their
          F-1 student status terminated and had their SEVIS immigration record correspondingly
          terminated by Defendants since March 1, 2025 where Defendants’ student status
          termination was neither (i) based on the criteria set forth in 8 C.F.R. § 214.1(d), (ii)
          because the student failed to maintain student status based on the criteria set forth in 8
          C.F.R. § 214.1(e)-(g), nor (iii) because the student failed to make normal progress
          toward completing a course of study under 8 C.F.R § 214.2(f)(5)(i);

       B. Enjoining Defendants from, in the future, terminating the F-1 student status and
          corresponding SEVIS immigration record for all students at (and Optional Practical
          Training participants affiliated with) any educational institutions (including colleges
          and universities) in New Hampshire, Massachusetts, Maine, Rhode Island, and Puerto
          Rico where (i) the criteria set forth in 8 C.F.R. § 214.1(d) is not satisfied, (ii) the student
          has not failed to maintain student status based on the criteria set forth in 8 C.F.R. §
          214.1(e)-(g), and (iii) the student has not failed to make normal progress toward
          completing a course of study under 8 C.F.R § 214.2(f)(5)(i); and

       C. Ordering any further relief this Court deems just and proper.

       The grounds for this motion are set forth in Plaintiffs’ accompanying memorandum of law

in support of their motion. Plaintiffs also move this Court for an order waiving the requirement

for bond or security.

       Pursuant to L.R. 7.1(h), Plaintiffs respectfully request an expedited schedule and a ruling

by May 7, 2025. In the interest of time, Plaintiffs request that the Court schedule argument on or

before May 5, 2025. Plaintiffs and Class 1 members face imminent and irreparable harm because

of Defendants’ unilateral and unlawful F-1 student status terminations. For example, many

students of Class 1 members were about to complete their studies, receive degrees, graduate from

schools, and participate in the Optional Practical Training (OPT). Indeed, Plaintiff Likhith Babu

Gorrelea is in this situation. His graduation date for his Master’s program is May 20, 2025, and

he plans to participate in OPT after graduation. Students who are on OPT also face imminent and

irreparable harm because many students’ OPT-authorized periods usually end in June and July, as




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many students commence participating their OPT after May graduation. Moreover, all students

with F-1 student status who were not on OPT were in the middle of their semesters when

Defendants terminated their status. Students like Plaintiff Haoyang An and Plaintiff Thanuj

Kumar Gummadavelli would not be able to continue enrolling in classes without taking the risk of

falling out of student status. Further, many Ph.D. students’ sole income is through their research

and teaching assistantships. Plaintiff Hangrui Zhang faces severe financial and academic hardship

because he cannot work or engage in research for his Ph.D. program. Without the Court’s

expedited intervention, Plaintiffs and class members face imminent and irreparable harm.




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                                        Plaintiffs and similarly situated members,

                                        By and through their Counsel,

Dated: April 18, 2025                   Respectfully submitted,

                                        /s/ SangYeob Kim
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